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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
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PROCESS AND INDUSTRIAL
DEVELOPMENTS LIMITED,                :

                               Plaintiff,              :

v.                                                     :
                                                             Civil Action No. 18-cv-00594-CRC
FEDERAL REPUBLIC OF NIGERIA and    :
MINISTRY OF PETROLEUM RESOURCES OF
THE FEDERAL REPUBLIC OF NIGERIA,   :

                     Defendants.     :
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-
             MOTION FOR SETTING OF BRIEFING SCHEDULE
          ON THE PETITION TO CONFIRM ARBITRATION AWARD
       AND SUPPORTING STATEMENT OF POINTS AND AUTHORITIES

       Petitioner Process and Industrial Developments Limited (“P&ID”) hereby moves the

Court to set a briefing schedule on the Petition to Confirm Arbitration Award (the “Petition”)

(Dkt. No. 1), under which Respondents Federal Republic of Nigeria and Ministry of Petroleum

Resources of the Federal Republic of Nigeria (together, “Nigeria”) would be required to

promptly file their response to the Petition, which was due on August 27, 2018. That Nigeria

filed a motion to dismiss on jurisdictional immunity grounds on August 27 (Dkt. No. 28) (the

“Motion”) did not suspend the due date for responding to the Petition on the merits. This is a

summary proceeding in which, under the Federal Arbitration Act (“FAA”), the Petition is to be

treated as a motion and Nigeria was required to submit all its defenses in a single opposition.

Nigeria now has arguably waived its ability to raise further defenses and the Court could decide

whether to confirm the Final Award based on the Petition and Nigeria’s motion alone.

       Nigeria’s position that it can wait to file a substantive response to the Petition until after

the motion to dismiss has been conclusively determined—including after an interlocutory appeal
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if necessary—reflects a tactic to further delay paying its debt to P&ID that is inconsistent with

the summary nature of an award-confirmation action under the FAA. Unlike a plenary action

that requires discovery, resolution of factual disputes, and calculation of damages, these

proceedings can and should be resolved on the briefs. Indeed, the position that Nigeria takes

here was recently rejected by Judge Kollar-Kotelly in BCB Holdings Ltd. v. Government of

Belize, Case No. 1:14-cv-1123-CKK, and even criticized by Judge Mehta in Balkan Energy Ltd.

v. Republic of Ghana, Case No. 1:17-cv-584-APM.

       Because Nigeria says it has “several non-jurisdictional grounds for defending against

confirmation of the Award under the New York Convention” (Motion at 32 n.4), P&ID is

prepared to accept a modest extension of the August 27 deadline for responding to the Petition—

even though Nigeria failed to ask for such an extension itself. Accordingly, P&ID respectfully

requests that the Court, in the exercise of its case management powers, require Nigeria to file

promptly its substantive response to the Petition so that the Court can address in one decision all

the issues in the case. The parties have discussed this request and Nigeria opposes it.

       If a new deadline for Nigeria’s response is to be set, the Court may find it sensible to also

modify the briefing schedule on Nigeria’s Motion so that it runs in parallel with the due dates for

further briefing on the Petition. Given that under Local Rule 7(b) the due date for P&ID’s

opposition to the Motion is next Monday, September 10, 2018, P&ID respectfully requests that

the Court consider this motion by P&ID expeditiously and suspend temporarily the upcoming

due date for opposing Nigeria’s Motion until such time as the Court has ruled on this motion.1



1
  While Nigeria does not consent to a briefing schedule being set for responding to the Petition at
this time (given its position that it is not yet required to respond), counsel for Nigeria did contact
counsel for P&ID to ask whether P&ID was interested in extending the briefing schedule on
Nigeria’s motion to dismiss. P&ID is not opposed to a reasonable extension of that briefing



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                                         BACKGROUND

       On January 31, 2017, a final and binding arbitration award was made in London, United

Kingdom, in favor of P&ID and against Nigeria in the amount of approximately US $6.5 billion

plus interest (the “Final Award”). The damages awarded by the tribunal represented P&ID’s loss

of revenue from the sale of millions of metric tons of natural gas liquids over the 20-year term of

Nigeria’s obligation to supply natural gas under the parties’ agreement (which Nigeria had

repudiated), less the capital and operating expenditures that P&ID would have incurred in

building and operating the facility that would process the natural gas for use in powering

Nigeria’s national electric grid. Nigeria has refused to pay its debt.

       On March 16, 2018, P&ID filed a Petition for Confirmation of the Final Award under the

1958 Convention on Recognition and Enforcement of Foreign Arbitral Awards (the “New York

Convention”), a proceeding brought under Chapter 2 of the FAA. Under 28 U.S.C. § 1608(d),

the initial due date for Nigeria to respond to the Petition was May 29, 2018. Nigeria failed to

enter an appearance and respond by the due date. Three days later, on June 1, 2018, counsel for

Nigeria contacted counsel for P&ID to advise that they had been recently retained to represent

Nigeria in this case, but still they did not enter an appearance at that time. (Dkt. No. 24-1 ¶ 4.)

       Only after P&ID obtained a Clerk’s default on June 4, 2018 (Dkt. No. 15) did Nigeria

appear in the case, filing a motion to vacate the default and to dismiss the Petition based on

improper service of process (Dkt. No. 17), even though Nigeria’s own filing showed that Nigeria

had in fact received the Petition and other service documents as early as March 28, 2018 (Dkt.

No. 17-3). On July 13, 2018, the Court granted Nigeria’s motion in part and denied it in part,




schedule but believes it is important to have all the issues in the case (jurisdictional and non-
jurisdictional) be briefed as soon as possible, consistent with the summary nature of this action.


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lifting the default but refusing to dismiss the Petition. In the meantime, P&ID had renewed

service of process (which Nigeria has not challenged), thereby setting a new due date for

Nigeria’s opposition to the Petition on August 27, 2018.

       On the August 27 due date—and without seeking an extension of its response deadline—

Nigeria again failed to file a response to the Petition. Instead, Nigeria filed only the Motion. In

it, Nigeria argues that the two exceptions to immunity from suit under the FSIA on which P&ID

relies in this action do not apply and that therefore the Court lacks subject-matter jurisdiction.

(Motion at 13-30.) Nigeria also argues it is entitled to a conclusive determination on the issue of

sovereign immunity, including through an interlocutory appeal if necessary, without waiving its

ability to submit defenses on the merits of the Petition at a later time. (Motion at 30-32.) In so

arguing, Nigeria is apparently trying to convert what the FAA mandates should be a summary

proceeding into a multi-stage litigation in which it can raise its defenses piecemeal, which would

prejudice P&ID by delaying the time at which it can start executing on Nigeria’s U.S.-based

assets if the Final Award is confirmed.2




2
  That Nigeria’s filing of the Motion is a delay tactic is evident also from the fact that Nigeria has
taken what is essentially a (misguided) defense on the merits—that the arbitration tribunal’s award
on liability was supposedly set aside by a Nigerian court which was competent to do so as a primary
jurisdiction under Article V(1)(e) the New York Convention—and has repackaged it as a
jurisdictional defense, claiming that due to the Nigerian court’s order the Final Award does not
exist and therefore the FSIA’s arbitration exception to jurisdictional immunity does not apply. As
P&ID will explain in its opposition to the Motion, Nigeria’s claim is meritless. The arbitration
exception gives the court jurisdiction in any case “in which the action is brought . . . to confirm an
award made pursuant to [] an agreement to arbitrate,” 28 U.S.C. § 1605(a)(6), and there can be no
serious dispute that both an award and an agreement to arbitrate exist in this case. In any event,
Nigeria acknowledges the overlap between its jurisdictional argument and a defense under the
New York Convention (Motion at 14), which supports the Court’s deciding all the issues together.


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                                           ARGUMENT

       It is settled law that an action for confirmation of an arbitration award is a summary

proceeding. To support the strong federal policy in favor of arbitral dispute resolution, Congress

has directed the district courts to grant “streamlined treatment” to an application to confirm an

arbitration award. Hall Street Assocs., LLC v. Mattel, Inc., 552 U.S. 576, 582 (2008). Section 6

of the FAA provides that a petition to confirm an arbitral award “shall be made and heard in the

manner provided by law for the making and hearing of motions.” 9 U.S.C. § 6; see also 9 U.S.C.

§ 208 (extending provision to New York Convention cases). Consequently, award-confirmation

proceedings under the FAA “take the form of a summary procedure,” whereby the application

“should proceed under motions practice, not notice pleading.” TermoRio S.A. E.S.P. v.

Electranta S.P., 487 F.3d 928, 940 (D.C. Cir. 2007).

       P&ID’s Petition should therefore be treated as a motion—indeed it was accompanied by

declarations and a memorandum of law—which means that Nigeria should have filed its

opposition to the Petition on the return date, August 27, 2018. Section 6 of the FAA

contemplates a petition to confirm, followed by a single opposition (including any jurisdictional

or other defenses), a reply, and then a ruling on the Petition. Cf. LCvR 7(a)-(d) (briefing

sequence for motions). Consequently, the FAA forecloses the notion that Nigeria can

unilaterally delay the due date for its opposition until a motion to dismiss on jurisdictional

grounds has been conclusively resolved. Indeed, Nigeria’s filing of the Motion did not extend

the time for Nigeria to submit a substantive response, as might have been the case if Nigeria

were responding to a pleading under Federal Rule of Civil Procedure 12(a)(4)(A). See IFC

Interconsult, AG v. Safeguard Int’l Partners, LLC, 438 F.3d 298, 307-09 (3d Cir. 2006), cert.

denied, 549 U.S. 821 (2006) (rejecting argument that award-debtor’s motion to dismiss extended




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time for filing response on the merits to the award-confirmation petition under Rule 12(a)(4)(A),

and observing that the award-debtor “proceeded at its peril when it failed to raise its arguments

on the merits in its responsive motion [to dismiss]”). Thus, Nigeria’s substantive response to the

Petition is overdue.3

       P&ID therefore requests that the Court set a new due date for Nigeria to promptly submit

its substantive response to the Petition so that the Court can address the jurisdictional and merits

arguments in a single decision, which would be consistent with the summary nature of this

action. That is also the way in which award-confirmation proceedings are routinely resolved,

including against foreign states. See, e.g., Balkan Energy Ltd. v. Republic of Ghana, 302 F.

Supp. 3d 144 (D.D.C. 2018) (deciding all of respondent’s jurisdictional and New York

Convention defenses at the same time, and confirming award) (appeal pending); BCB Holdings

Ltd. v. Gov’t of Belize, 110 F.Supp.3d 233 (D.D.C. 2015) (same); Belize Social Dev. Ltd. v.

Gov’t of Belize, 5 F. Supp. 3d 25 (D.D.C. 2013) (same).




3
  By failing to submit a timely response, Nigeria arguably has waived its right to present further
defenses and the Court could decide the case based solely on the Petition and the Motion. See
Argentine Republic v. Nat’l Grid PLC, 637 F.3d 365, 369 (D.C. Cir. 2011) (rejecting argument
that district court erred by confirming award “without giving Argentina the opportunity to raise
defenses afforded to it by the Convention” because Argentina “had ample opportunity to raise
these defenses in its Opposition”); IFC Interconsult, 438 F.3d at 303, 307-09 (rejecting argument
that the district court denied award-debtor an opportunity to be heard when it decided to confirm
the award based on the petition to confirm and the motion to dismiss for lack of subject-matter
jurisdiction); Productos Mercantiles e Industriales, S.A. v. Faberge USA, Inc., 23 F.3d 41, 46 (2d
Cir. 1994) (holding that district court (i) properly treated award-confirmation petition under the
FAA as a motion, (ii) was not required to comply with pleading requirements under the Federal
Rules of Civil Procedure, and (iii) “properly decided the merits based solely on the papers
submitted by the parties in support of their motions,” namely the petition to confirm and the award-
debtor’s motion to dismiss). While preserving its objection to Nigeria’s untimeliness including
the above waiver argument, P&ID is prepared to accept a modest extension of Nigeria’s August
27 deadline for responding to the Petition.


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       The Court undoubtedly has the authority under its case-management powers to set filing

deadlines for briefing on the Petition and to decide all the issues in this case together as soon as

practicable rather than extending the proceeding into multiple phases unnecessarily. See, e.g.

Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342 U.S. 180, 183–84 (1952) (recognizing

District Courts’ “ample degree of discretion” to manage cases with “regard to conservation of

judicial resources and comprehensive disposition of litigation,” including to “prevent two

litigations where one will suffice”); Jackson v. Finnegan, Henderson, Farabow, Garrett &

Dunner, 101 F.3d 145, 151 (D.C. Cir. 1996) (recognizing district court’s “prerogative to manage

its docket, and its discretion to determine how best to accomplish this goal”); cf. Farrell v.

Tillerson, 315 F. Supp. 3d 47, 71–72 (D.D.C. 2018) (declining to consider motion to dismiss

because it “raise[d] many of the same legal issues” as the plaintiff’s motion for summary

judgment and instead “order[ing] the defendant to respond to the plaintiff’s motion”).

       In its Motion, Nigeria cites to several cases for the proposition that foreign sovereign

immunity is “a shield ‘from trial and the attendant burdens’ of having to defend against a claim

on the merits,” and that a foreign state is entitled to an immediate, interlocutory appeal from a

denial of a motion to dismiss under the FSIA pursuant to the collateral order doctrine. (Motion

at 31.) But in none of those cases did the court hold that a foreign state need not comply with the

procedure and corresponding filing deadlines for an award-confirmation action under the FAA,

or that a district court in such an action may not set a briefing schedule that allows the district

court to address all the issues in the case together at an early point in time.4 Further, most of the


4
  For example, in Bolivarian Republic of Venezuela v. Helmerich & Payne Int’l Drilling Co., 137
S. Ct. 1312 (2017), on which Nigeria relies (Motion at 31), the plaintiffs had brought a plenary
action against Venezuela seeking compensation for unlawful expropriation of the plaintiffs’ oil
rigs, and the Supreme Court clarified the standard of proof applicable to establishing jurisdiction
under the FSIA’s expropriation exception to sovereign immunity under 28 U.S.C. § 1605(a)(3).



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cases on which Nigeria relies involved plenary actions in which liability and damages still

needed to be decided. In this case, by contrast, there are no substantial issues of fact to be

resolved, no discovery is needed, and there is no looming burden of a trial on the merits. This is

a summary award-recognition proceeding, not a plenary action in which the Court or a jury must

find facts, determine liability, and assess damages. As stated above, it is typical in this type of

action for district courts to decide jurisdictional and merits defenses in a single ruling, and none

of the cases cited by Nigeria hold that to be improper.5 To be sure, in deciding this summary

action the Court must satisfy itself as a threshold matter that it has jurisdiction under the FSIA,

but that does not mean that the Court must permit Nigeria to further delay submitting its

substantive response to the Petition until the motion to dismiss has been resolved.

         The same delay tactic that Nigeria attempts here was recently rejected by Judge Kollar-

Kotelly in another award-confirmation action, BCB Holdings, 1:14-cv-1123-CKK. In that case,

Belize filed a motion to dismiss (Dkt. No. 26) and a motion to stay (Dkt. No. 34), arguing that it




In so doing, the Court described the basic objective of foreign sovereign immunity as “free[ing] a
foreign sovereign from suit,” observed that a court should “normally . . . reach a decision about
immunity as near to the outset of the case as is reasonably possible, and noted that “where a district
court decides that there is a ‘violation of international law’ [i.e. one of the elements of the
expropriation exception] as a matter of jurisdiction, then (according to the Court of Appeals) the
losing sovereign nation can immediately appeal the decision as a collateral order.” Id. at 1317,
1323 (emphasis in original). But nothing in the decision says that in an action under the FAA for
confirmation of an arbitration award the district court may not require a foreign state to submit its
defenses on the merits in a timely manner and to decide all the issues in the case together.
5
  In its Motion, Nigeria also cites two decision in award-confirmation proceedings in which the
Second Circuit heard an interlocutory appeal from the district court’s denial of a motion to dismiss.
(Motion at 32, citing Blue Ridge Invs., L.L.C. v. Republic of Argentina, 735 F.3d 72 (2d Cir. 2013);
Figueiredo Ferraz e Engenharia de Projeto Ltda v. Republic of Peru, 665 F.3d 384 (2d Cir. 2011).)
In neither of those decisions—which are not binding on this Court in any event—did the Second
Circuit say that the district court had been obligated to rule on the motion to dismiss before
requiring the foreign state to present its defenses on the merits. We also note that Blue Ridge
involved an action brought under the ICSID Convention, not the FAA. 735 F.3d at 77.


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was entitled to an initial determination on jurisdiction and immunity before any merits issues

were considered. Belize also filed a “preliminary response” to the award-confirmation petition,

in which it argued that the court should first decide the motion to dismiss and, if it denied the

motion, permit Belize to “file an interlocutory appeal prior to reaching the merits.” (Dkt. No. 28

at 2.) After extensive briefing on the various motions and several interim minute orders, Judge

Kollar-Kotelly ultimately resolved the jurisdictional and merits issues together (Dkt. Nos. 41,

42), granted the petition to confirm the award, and entered judgment (Dkt. No. 47). The decision

was affirmed by the D.C. Circuit. BCB Holdings Ltd. v. Gov’t of Belize, 110 F. Supp. 3d 233

(D.D.C. 2015), aff’d, 650 F. App’x 17 (D.C. Cir. 2016), cert. denied, 137 S.Ct. 619 (2017).

       Judge Mehta criticized the same delay tactic in Balkan Energy, 1:17-cv-584-APM.

There, Ghana had moved to dismiss a petition to confirm an arbitration award (Dkt. No. 17) and,

in its motion, purported to “‘reserv[e] its rights to answer the petition, conduct necessary

discovery, and proceed onto the merits’ at a later point.” Balkan Energy Ltd. v. Republic of

Ghana, 302 F. Supp. 3d 144, 149 (D.D.C. 2018). Judge Mehta set a briefing schedule on the

petition (Dkt. No. 18) and, only after the merits had been briefed (and oral argument held), did

he issue a single decision on both the jurisdictional immunity issue and the merits of the petition,

concluding that the award should be confirmed (Dkt. No. 36). 302 F. Supp. 3d at 159. In his

decision, Judge Mehta referred to the “dubiousness of Ghana’s procedural maneuvering,” noting:

       “[M]otions to enforce arbitral awards should proceed under motions practice.”
       TermoRio S.A. E.S.P. v. Electranta S.P., 487 F.3d 928, 940 (D.C. Cir. 2007); see
       9 U.S.C. § 6 (providing that an application to confirm an arbitral award “shall be
       made and heard in the manner provided by law for the making and hearing of
       motions”). Accordingly, in this court’s view, Ghana should have included all
       arguments and supporting affidavits for denial of the Petition in its response to the
       Petition, rather than submitting them in piecemeal fashion.

302 F. Supp. 3d at 149 & n.2.




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       Consistent with the summary nature of this action and the fact that under the FAA the

Petition is to be treated as a motion, not a pleading, the Court should require Nigeria to submit its

already-overdue response to the Petition promptly and, once briefing is complete, decide all the

issues in a single decision. Given that Nigeria has already had over five months since it received

the Petition to consider how it might respond, P&ID respectfully requests that the Court set a due

date for no later than September 24, 2018, and that P&ID be given three weeks (until October 15,

2018) to submit a reply.

       If such a briefing schedule is set, the Court may also find it sensible to adjust the briefing

due dates on Nigeria’s Motion to run in parallel with those on the Petition, in which case P&ID

respectfully requests that the Court temporarily suspend the due date for P&ID’s opposition to

Nigeria’s Motion (currently September 10, under Local Rule 7(b)) until such time as the Court

rules on P&ID’s request for a briefing schedule on the Petition.

                                         CONCLUSION

       For the reasons stated above, P&ID respectfully requests that the Court set a briefing

schedule on the Petition substantially in the form of the accompanying Proposed Order, and that

the Court rule on all the issues in the case together once they have been briefed.

       Dated: September 5, 2018

               Washington, D.C.
                                                  Respectfully Submitted,

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